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                           UNITED STATES DISTRICT COURT

                                 DISTRICT OF OREGON

UNITED STATES OF AMERICA                           3:18-cr-00319-JO-07

              v.                                   MOTION TO SEAL GOVERNMENT’S
                                                   MEMORANDUM IN SUPPORT OF
JOSEPH DUANE FOLKERTS,                             PRE-TRIAL DETENTION

              Defendant.


       The United States of America hereby requests that the court seal the Government’s

Memorandum in Support of Pre-Trial Detention. The government requests sealing because

information contained within the memorandum is subject to a protective order.

Dated: September 5, 2019                           Respectfully submitted,

                                                   BILLY J. WILLIAMS
                                                   United States Attorney


                                                   s/ Steven T. Mygrant
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Detention
